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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA                         :    CRIMINAL NO.
                                                    :
                v.                                  :    MAGISTRATE NO. 21-MJ-348
                                                    :
   SHAWN BRADLEY WITZEMANN,                         :    VIOLATIONS:
                                                    :    18 U.S.C. § 1752(a)(1)
                          Defendant.                :    (Entering and Remaining in a Restricted
                                                    :    Building or Grounds)
                                                    :    18 U.S.C. § 1752(a)(2)
                                                    :    (Disorderly and Disruptive Conduct in a
                                                    :    Restricted Building or Grounds)
                                                    :    40 U.S.C. § 5104(e)(2)(D)
                                                    :    (Disorderly Conduct in
                                                    :    a Capitol Building)
                                                    :    40 U.S.C. § 5104(e)(2)(G)
                                                    :    (Parading, Demonstrating, or Picketing in
                                                    :    a Capitol Building)

                                     INFORMATION

       The Acting United States Attorney charges that:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, SHAWN BRADLEY

WITZEMANN, did unlawfully and knowingly enter and remain in a restricted building and

grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States

Capitol and its grounds, where the Vice President and Vice President-elect were temporarily

visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, SHAWN BRADLEY

WITZEMANN, did knowingly, and with intent to impede and disrupt the orderly conduct of




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Government business and official functions, engage in disorderly and disruptive conduct in and

within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and

otherwise restricted area within the United States Capitol and its grounds, where the Vice President

and Vice President- elect were temporarily visiting, when and so that such conduct did in fact

impede and disrupt the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                       COUNT THREE

       On or about January 6, 2021, within the District of Columbia, SHAWN BRADLEY

WITZEMANN, willfully and knowingly engaged in disorderly and disruptive conduct within the

United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt,

and disturb the orderly conduct of a session of Congress and either House of Congress, and the

orderly conductin that building of a hearing before or any deliberation of, a committee of Congress

or either Houseof Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




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                                        COUNT FOUR

       On or about January 6, 2021, within the District of Columbia, SHAWN BRADLEY

WITZEMANN, willfully and knowingly paraded, demonstrated, and picketed in any United States

CapitolBuilding.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,United
       States Code, Section 5104(e)(2)(G))

                                                   Respectfully submitted,

                                                   CHANNING D. PHILLIPS
                                                   Acting United States Attorney
                                                   D.C. Bar No. 415793


                                              By: /s/ Christopher D. Amore
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